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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CRIMINAL MINUTES - GENERAL

Case No. 8:24-cr-00054-[WH-1 Date: May 8, 2025

Present: The Honorable: JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE

Interpreter N/A

Priscilla Deason for Clarissa Lara Miriam Baird Jeff P. Mitchell
Deputy Clerk Court Reporter Assistant U.S. Attorney
U.S.A. v. Defendant(s) Present Cust Citation Attorneys for Defendants: Present App Ret
Ippei Mizuhara (BOND) xX Michael Gregory Freedman, xX xX
Retained

Proceedings: HEARING RE: DEFENDANT’S EY PARTE APPLICATION TO
EXTEND SURRENDER DATE [114]

Counsel state their appearances. The Court confers with counsel and hears oral
argument. For the reasons stated on the record, the Court hereby ORDERS as follows:

1. Defendant’s Ex Parte Application to Extend Surrender Date [114] is GRANTED.

2. The deadline for Defendant to surrender is EXTENDED to 12:00 noon on
June 16, 2025, in accordance with this Court’s previous orders.

IT ISSO ORDERED.

cc: USPO, USMS, BOP

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Initials of Deputy Clerk —P4

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